      Case 2:09-cr-00863-SRC                        Document 75         Filed 11/24/10    Page 1 of 1 PageID: 521




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                                                                         November 18, 2010      MILLBLJR NEW JERSEY
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     SACHIN GUPTA                                                                               REPLY TO JERSEY CiTY

     MICHAEL I-i. HOCHMAN
         (OF COUNSEP>




     via electronic filing and regular mail
     Honorable Stanley R. Chesler
     United States District Court
     District of New Jersey
 Frank R. Lautenberg U.S.P.O.
 and Courthouse- Room 417
 RO. Box 999
 Newark, New Jersey 07101-0999

                                   RE:        United States vs Michael C. Sciarra, et a!
                                              Criminal No.: 09-863 (SRC)
                                              Our Client: Mark Ventricelli
                                              Our File No.: 32444
 Dear Judge Chesler:

        Please be advised that we represent Mark Ventricelli who
                                                                   is currently subject to an Order
for home detention. lie requests the Court’s consent
                                                      to permit him to spend Thanksgiving dinner
with his family (mother and siblings and their spouses)
                                                        at his brother Peter Ventricelli’s house at
12 Columbia Place, Parlin, New Jersey 08859. Peter is
                                                         a co-defendant in this case. It is my
understanding that the United States does not object.

                                                               Respectfully submitted,
                                                               MILLER, MEYERS            & CORBO

                                                               By:__________________________
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           Mark Ventricelli
